                                    UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF CALIFORNIA

                                                       Minute Order
Hearing Information:
                                                                                                         0.00
                     Debtor:   MARGARITO VASQUEZ SANCHEZ
               Case Number:    18-01740-LA13         Chapter: 13
      Date / Time / Room:      THURSDAY, DECEMBER 20, 2018 02:00 PM DEPARTMENT 2
       Bankruptcy Judge:       LOUISE DeCARL ADLER
        Courtroom Clerk:       KAREN FEARCE
          Reporter / ECR:      TRISH CALLIHAN

Matters:
       1) MOTION FOR RELIEF FROM STAY, RS # AT-1 .00 FILED BY KRISTIN A. ZILBERSTEIN ON BEHALF
              OF DEUTSCHE BANK NATIONAL TRUST COMPANY, AS CERTIFICATE TRUSTEE ON BEHALF OF
              BOSCO CREDIT II TRUST SERIES 2010-1


       2) OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN. FILED BY MICHELLE GHIDOTTI ON
              BEHALF OF DEUTSCHE BANK NATIONAL TRUST COMPANY (fr 12/12/18)



Appearances:

        ZACHARY SHOEMAKER, ATTORNEY FOR MARGARITO VASQUEZ SANCHEZ
        RICHARD STEVENON, ATTORNEY FOR TRUSTEE, DAVID SKELTON
        RUSSEL LITTLE, ATTORNEY FOR DEUTSCHE BANK

Disposition:                                                                              1.00

        1) Tentative Ruling of the Court is affirmed. No waiver of the 14 day stay.

        2) Plan is denied confirmation and the case is dismissed.

        Movant to submit two orders.




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